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                              EXHIBIT 83
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     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                       EASTERN DIVISION
     3
            IN RE: NATIONAL               )
     4      PRESCRIPTION                  )   MDL No. 2804
            OPIATE LITIGATION             )
     5      _____________________         )   Case No.
                                          )   1:17-MD-2804
     6                                    )
            THIS DOCUMENT RELATES         )   Hon. Dan A.
     7      TO ALL CASES                  )   Polster
     8
                        TUESDAY, JANUARY 15, 2019
     9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10                   CONFIDENTIALITY REVIEW
    11                              – – –
    12                  Videotaped deposition of Karen
    13     Harper, held at the offices of STINSON
    14     LEONARD STREET LLP, 7700 Forsyth Boulevard,
    15     Suite 1000, St. Louis, Missouri, commencing
    16     at 9:09 a.m., on the above date, before
    17     Carrie A. Campbell, Registered Diplomate
    18     Reporter and Certified Realtime Reporter.
    19
    20
    21
    22                             – – –
                      GOLKOW LITIGATION SERVICES
    23          877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
    24
    25

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                                                         Page 30                                                            Page 32
    1       Q. Okay. Do you have an               09:23:54         1       year?                             09:25:20
    2   approximate recollection of how much you         09:23:55 2             A. It's percent.                 09:25:20
    3   made?                             09:23:57                 3            Q. Okay. And has that -- over the 09:25:23
    4       A. No, sir.                   09:23:57                 4       time that you've either been senior manager 09:25:27
    5       Q. Okay. Do you recall if it was 09:23:59              5       or director of controlled substance         09:25:28
    6   $75,000 or more or above?                  09:24:01        6       compliance, has it been that approximate        09:25:30
    7       A. No, sir, I don't recall.        09:24:03            7       percentage?                          09:25:32
    8       Q. Okay. Do you know what your             09:24:04    8            A. Yes.                       09:25:32
    9   salary is currently?                 09:24:09              9            Q. Okay. Great.                   09:25:34
   10       A. Yes.                       09:24:10                10                Ms. Harper, have you reviewed       09:25:35
   11       Q. Okay. And you're currently           09:24:13      11       any court documents or pleadings in this        09:25:39
   12   director of controlled substance compliance, 09:24:15 12           case?                             09:25:42
   13   correct?                          09:24:18                13            A. I'm not certain.              09:25:42
   14       A. Yes.                       09:24:19                14            Q. Okay. Are you aware that            09:25:46
   15       Q. And what is your salary            09:24:19        15       there's a case currently pending in Ohio,      09:25:49
   16   currently?                         09:24:21               16       generally titled the national opioid        09:25:54
   17       A. It's -- I'm going to give you 09:24:21             17       litigation?                        09:25:56
   18   two numbers because I get that mixed up as 09:24:24 18                  A. Yes.                       09:25:56
   19   well, I'm sorry. It's either        or      09:24:27      19            Q. And you're aware that there are 09:25:57
   20             per year.                   09:24:31            20       approximately 1500 jurisdictions that have       09:25:58
   21       Q.                                       09:24:32     21       filed suit against various manufacturers,      09:26:02
   22       A.                            09:24:34                22       distributors and retail pharmacies of        09:26:07
   23       Q.                                     09:24:35       23       prescription opioids?                   09:26:08
   24                                      09:24:39               24            A. Yes.                       09:26:08
   25       A.                                       09:24:40     25            Q. Okay. And are you aware that          09:26:08

                                                            Page 31                                                         Page 33
    1                .                        09:24:42                 1   these jurisdictions have alleged that these 09:26:09
    2        Q. And when did you start               09:24:42          2   entities are responsible for the opioid       09:26:12
    3                                                   09:24:44       3   crisis?                           09:26:14
    4        A. I don't recall the year.          09:24:44             4       A. Yes.                        09:26:15
    5        Q. Okay. And do you have any               09:24:45       5       Q. Okay. By the way, are you             09:26:16
    6   other -- do you have a retirement package at 09:24:49          6   aware -- strike that.                  09:26:20
    7   all?                              09:24:51                     7            Are you generally aware that       09:26:20
    8        A. Yes.                        09:24:52                   8   these jurisdictions are alleging that these 09:26:25
    9        Q. Okay. And what does that              09:24:53         9   entities should be responsible for the costs 09:26:28
   10   consist of?                          09:24:54                 10   that these entities have incurred as a result 09:26:30
   11        A. It's 401(k).                  09:24:55                11   of responding to the opioid crisis?          09:26:33
   12        Q. Okay. Other than the 401(k)            09:24:56       12       A. Yes, in general.                 09:26:35
   13   and                                     , do you 09:24:58     13       Q. Okay. And are you aware of any 09:26:36
   14   have any other additional compensation in          09:25:01   14   complaints that have actually been filed        09:26:39
   15   addition to your salary?                   09:25:04           15   against your company?                      09:26:42
   16        A. Yes.                        09:25:05                  16       A. No.                         09:26:43
   17        Q. And what does that consist of? 09:25:07               17       Q. Okay. So you haven't read any 09:26:46
   18        A. A bonus, an annual bonus.             09:25:08        18   of the complaints that have been filed         09:26:47
   19        Q. Okay. And approximately how               09:25:10    19   against Mallinckrodt?                     09:26:50
   20   much is that?                          09:25:11               20       A. I've read pieces of the MDL,          09:26:51
   21        A. It's -- it's a percent of the     09:25:11            21   but nothing specific to Mallinckrodt.          09:26:55
   22   salary based upon the performance of the           09:25:14   22       Q. Okay. When you say "pieces of 09:26:56
   23   company.                              09:25:17                23   the MDL," what do you mean?                    09:26:59
   24        Q. Okay. And what's the                09:25:17          24       A. The multi-district litigation. 09:27:01
   25   approximate percentage that you received last 09:25:18        25       Q. And particularly when you say           09:27:03

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    1   "pieces," I'm just trying to get an        09:27:04          1            THE WITNESS: That is not             09:28:44
    2   understanding of what you've reviewed.           09:27:06    2       the sta -- pardon me, the statistic I 09:28:46
    3       A. So we receive a pharma news            09:27:07       3       have heard.                      09:28:48
    4   brief every single day, and so there will be 09:27:10        4   QUESTIONS BY MR. KO:                            09:28:48
    5   excerpts from the various matters related to 09:27:13        5       Q. Okay. What is the statistic         09:28:49
    6   the MDL, Judge Polster's rulings, et cetera. 09:27:16        6   that you have heard?                     09:28:50
    7       Q. I see.                      09:27:20                  7       A. That we're in the top five --       09:28:50
    8            So in other words, you're        09:27:20           8       Q. Okay.                         09:28:50
    9   getting and receiving and reviewing these       09:27:22     9       A. -- of the share of generic         09:28:53
   10   news updates about the MDL?                   09:27:26      10   suppliers.                          09:28:55
   11       A. Correct.                      09:27:28               11       Q. Okay. And generic suppliers of 09:28:55
   12       Q. Okay. Great.                    09:27:29             12   prescription opioids in particular, correct? 09:28:58
   13            Ms. Harper, do you agree that 09:27:30             13       A. Yes.                        09:28:59
   14   there's an opioid epidemic in this country? 09:27:35        14       Q. Okay. And currently, do you            09:29:00
   15            MR. O'CONNOR: Object to form. 09:27:37             15   understand that Mallinckrodt has the number 09:29:05
   16            THE WITNESS: Yes, I do.             09:27:38       16   one market share of generic prescription        09:29:07
   17   QUESTIONS BY MR. KO:                            09:27:39    17   opioids?                            09:29:10
   18       Q. Okay. And are you aware that 09:27:41                18            MR. O'CONNOR: Object to form. 09:29:10
   19   there's been an opioid epidemic in this       09:27:43      19            THE WITNESS: I don't -- I'm          09:29:11
   20   country for quite some time?                09:27:45        20       sorry. I don't know. I don't know       09:29:12
   21            MR. O'CONNOR: Object to form. 09:27:47             21       our current market position.           09:29:13
   22            THE WITNESS: I don't know,            09:27:47     22   QUESTIONS BY MR. KO:                            09:29:14
   23       sir, what you mean by "quite some         09:27:50      23       Q. Okay. During your time as             09:29:14
   24       time."                         09:27:51                 24   director or senior manager of controlled       09:29:18
   25            Can you -- I don't know.         09:27:52          25   substance compliance, have you ever inquired 09:29:21

                                                         Page 35                                                           Page 37
    1 QUESTIONS BY MR. KO:                             09:27:53   1      as to the market share of Mallinckrodt with 09:29:23
    2       Q. When did you first start          09:27:54         2      respect to prescription opioids?            09:29:26
    3   believing that there was an opioid epidemic 09:27:57      3          A. On certain specific drug            09:29:28
    4   in this country?                    09:28:02              4      substances, yes.                       09:29:31
    5            MR. O'CONNOR: Object to form. 09:28:03           5          Q. And which specific drug              09:29:32
    6            THE WITNESS: Approximately             09:28:04  6      substances?                           09:29:34
    7       mid-2000s.                      09:28:05              7          A. So I'll use the example            09:29:34
    8   QUESTIONS BY MR. KO:                           09:28:06   8      methylphenidate. When we're applying for          09:29:40
    9       Q. Mid-2000s?                     09:28:07            9      quota, if there is an intent or if we have a 09:29:43
   10       A. Yes, sir.                  09:28:08               10      belief that we will grow our market share, I 09:29:46
   11       Q. Okay. Are you familiar with          09:28:08     11      need to learn the existing market share that 09:29:48
   12   Mallinckrodt's market share of prescription 09:28:10 12          Mallinckrodt holds.                      09:29:51
   13   opioids?                          09:28:13               13          Q. Okay. And when over the last 09:29:52
   14       A. On some products, yes.             09:28:13       14      20 or so years have you inquired into that? 09:29:57
   15       Q. Okay. With respect to the          09:28:18       15               Has that been inquiries that      09:30:03
   16   generic product line of Mallinckrodt, are you 09:28:20 16        you've made on a fairly regular basis?         09:30:04
   17   aware of Mallinckrodt's market share in the 09:28:24 17                   MR. O'CONNOR: Object to form. 09:30:07
   18   generic line of business?               09:28:27         18               THE WITNESS: Yes, in                09:30:07
   19       A. Not overall, no, sir.          09:28:29           19          coordination with quota requests to       09:30:08
   20       Q. Okay. Are you aware that            09:28:31      20          DEA, yes.                         09:30:09
   21   Mallinckrodt has been either the number one 09:28:34 21          QUESTIONS BY MR. KO:                            09:30:10
   22   or number two in terms of market share         09:28:36  22          Q. And those quota requests on an 09:30:10
   23   generic manufacturer of prescription opioids 09:28:40 23         annual basis, correct?                   09:30:13
   24   for the last 20 or so years?           09:28:42          24          A. Quota is granted on an annual 09:30:13
   25            MR. O'CONNOR: Object to form. 09:28:43 25               basis, but the requests are an iterative     09:30:16

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    1 process throughout a calendar year.             09:30:19       1       Q. And who reports to you?           09:31:57
    2       Q. Okay. And so you would say              09:30:20      2       A. I have two direct reports.       09:31:58
    3   that you have regularly -- I just want to     09:30:22       3   They are managers of controlled substances 09:32:01
    4   make sure I understand when you -- when you 09:30:25         4   compliance.                        09:32:04
    5   have inquired into understanding              09:30:28       5       Q. And who are they?               09:32:07
    6   Mallinckrodt's market share, and you've said 09:30:30        6       A. There's a gentleman named --        09:32:07
    7   on a fairly consistent basis, correct?       09:30:32        7   his name is Dave Hunter.                09:32:10
    8       A. Yes.                        09:30:34                  8       Q. And who is the other person?        09:32:14
    9       Q. Okay. And consistent means             09:30:36       9   You said there were two?                09:32:17
   10   throughout the year, as you've described, in 09:30:40       10       A. Eileen Spaulding.              09:32:17
   11   connection with issues when dealing with         09:30:42   11       Q. Okay. And you have worked with 09:32:19
   12   quota requests to the DEA?                  09:30:45        12   Mr. Hunter and Ms. Spaulding before, correct? 09:32:21
   13            MR. O'CONNOR: Object to form. 09:30:47             13       A. Correct.                   09:32:24
   14            THE WITNESS: Yes, throughout            09:30:47   14       Q. And you worked with them in          09:32:25
   15       the year, but on certain drug         09:30:49          15   connection with the controlled substance     09:32:26
   16       substances at different times, sir.    09:30:51         16   compliance team throughout the time you were 09:32:30
   17   QUESTIONS BY MR. KO:                            09:30:52    17   senior manager, correct?               09:32:31
   18       Q. Okay. Going back to your              09:30:53       18       A. Correct.                   09:32:32
   19   current position as director of controlled     09:30:57     19           (Mallinckrodt-Harper Exhibit 1 09:32:40
   20   substance compliance --                   09:31:01          20       marked for identification.)        09:32:40
   21       A. Sorry.                       09:31:02                21   QUESTIONS BY MR. KO:                         09:32:40
   22       Q. That's okay.                   09:31:03              22       Q. I'd like to hand you an         09:32:41
   23            -- when did you become            09:31:05         23   exhibit. Go ahead and mark this as Harper 09:32:42
   24   director?                          09:31:07                 24   Exhibit 1.                       09:32:56
   25       A. Within the last six months.          09:31:08        25           And there's no Bates on this,   09:33:09

                                                        Page 39                                                           Page 41
    1        Q. Okay. So fairly recently?          09:31:11          1 but this -- this appears to be a printout of   09:33:12
    2        A. Yes, sir.                   09:31:12                 2 your LinkedIn profile; is that correct?        09:33:14
    3        Q. And before that, you were           09:31:13         3       A. Yes.                       09:33:16
    4   senior manager of controlled substance          09:31:15     4       Q. And does that appear to be an        09:33:16
    5   compliance, correct?                     09:31:17            5   accurate reflection or copy of your LinkedIn 09:33:19
    6        A. Yes.                       09:31:18                  6   profile?                          09:33:23
    7        Q. Okay. And so was this              09:31:18          7       A. Yes.                       09:33:23
    8   considered a promotion?                    09:31:20          8       Q. And I don't want to spend too        09:33:23
    9        A. Yes.                       09:31:21                  9   much time on it, but I do want to ask you a 09:33:25
   10        Q. Okay. And who did you replace, 09:31:22             10   question about your involvement in the        09:33:27
   11   if at all? If anyone?                  09:31:25             11   National Association of Drug Diversion         09:33:33
   12        A. No one.                      09:31:27               12   Investigators.                      09:33:36
   13        Q. So was this position created        09:31:28        13            Do you see that reference? I     09:33:37
   14   for you?                            09:31:30                14   believe that's on the next page.          09:33:38
   15        A. Yes.                       09:31:30                 15       A. Yes, I see it. Yes.            09:33:43
   16        Q. Okay. And what were the              09:31:31       16       Q. And it indicates that you've       09:33:44
   17   circumstances of creating this position?       09:31:34     17   been a member of the NADDI since 2013?            09:33:46
   18        A. It was an evolution, if you        09:31:36         18       A. Yes.                       09:33:50
   19   will, of my -- my existing job             09:31:39         19       Q. What is the NADDI?                 09:33:51
   20   responsibilities that merited a different     09:31:43      20       A. It's a group -- it's a        09:33:54
   21   title.                           09:31:46                   21   consortium of industry, law enforcement        09:34:00
   22        Q. Okay. And now that you're            09:31:46       22   leaders that assemble to discuss the issues 09:34:05
   23   director, do you have people that report to 09:31:55        23   around diversion.                     09:34:10
   24   you?                              09:31:56                  24       Q. Okay. And diversion of             09:34:12
   25        A. Yes.                       09:31:56                 25   controlled substances?                  09:34:14

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